8 F.3d 816
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.James Michael BEMBRY, Sr., Plaintiff-Appellant,v.VIRGINIA PAROLE BOARD;  Clarence L. Jackson, Defendants-Appellees.
    No. 93-6501.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  August 20, 1993.Decided:  October 20, 1993.
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.  Glen E. Conrad, Magistrate Judge.  (CA-92-801)
      James Michael Bembry, Sr., Appellant Pro Se.
      Reneen Evat Hewlett, Office of the Attorney General of Virginia, Richmond, Virginia, for Appellees.
      W.D.Va.
      AFFIRMED.
      Before HALL, PHILLIPS, and NIEMEYER, Circuit Judges.
      PER CURIAM:
    
    OPINION
    
      1
      James Michael Bembry, Sr., appeals from the magistrate judge's order denying relief under 42 U.S.C. § 1983 (1988).*  Our review of the record and the magistrate judge's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the magistrate judge.  Bembry v. Virginia Parole Board, No. CA-92801 (W.D. Va.  May 6, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    
      
        *
         The parties consented to jurisdiction of the magistrate judge under 28 U.S.C.A. § 636(c) (West Supp. 1993)
      
    
    